          Case 2:22-cv-01656-DAD-JDP Document 42-8 Filed 05/20/24 Page 1 of 3




                                   Exhibit G




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
                                                                    20CV372366
                                                                  Santa Clara – Civil
              Case 2:22-cv-01656-DAD-JDP Document 42-8 Filed 05/20/24 Page 2 of 3
                                                                                                                                                  C. Zepeda
                                                        TO BE FILED IN THE SUPERIOR COURT                                           APP405
ATTORNEY OR PARTY WITHOUT                                    BTATEBARNUMBER   215260                      FOR COURT UBE ONLY
                                                                                            Electronically Filed
       ATTORNEY.'AAIE:
      Timothy C. Travslstead, Esq.
nmd NAMR Narayan Travelstead P.C.                                                           by Superior Court of CA,
BTREETACOREBB: 7901 Stoneridge Dnve, Suite 230
cnv: Pleasanton                                  STATE'A                  ap cocE'4588      County of Santa Clara,
TELEPHONE Nos (650) 403-01 50                FAX Nca                                        on 5/1/2024 12:26 PM
ewvLAOCREBR t.travelgtssdttinarayantravelgteed.corn
ArroRNEYFoR isomer. Hindu American Foundation
                                                                                            Reviewed By: C. Zepeda
                                                                                            Case #20CV372366
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
 BmEETAOOREBB: 191 North First Street                                                       Envelope: 15196144
 MAIUNGAOCREBB: 191 North First Street
cITYANczIPcocE'an Jose, CA 95113
     BRANGH NAMR       Downtown Superior'ourt
pLAINTIFF)PETITIONER: California Civil Rights Department                                    COURT OF APPEAL CASE NUMBER:
                                                                                            H051973
DEFENDANT/RESPONDENT: Cisco Systems, Inc.

               ABANDONMENT OF APPEAL (UNLIMITED CIVIL CASE)                                 SUPERIOR COURT CASE NUMBER:
                                                                                            20-CV-372366




The undersigned appellant hereby abandons the appeal 8)sd on (date): March 29, 2024               in the above-entitled action.




Date: May 1, 2024

Timothy C. Trave)stead
                                ITYPE OR PRINT l4AME)                                    (BONATURE OF APPEtulNT OR ATTORNEY)




  NOTE: File this form in the superior court if the record has not yet been filed in the Court of Appeal. If ths
  record has already been Sled in the Court of Appeal, you cannot use this form; you must file a request for
  dismissal in the Court of Appeal. You can use form APP407 to tile a request for dismissal ln the Court of
  Appeal. A copy of thh form must also be served on the other party or parties to this appeal, and proof of
  service flied with this form. You may uss an applicable Judicial Council form (such as APP400 or APP409E)
  for the proof of service. When this document has been completed and a copy served, the original may then be
  Sled with the court with proof of service.




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                                              ABANDONMENT OF APPEAL (UNLIMITED CIVIL CASE)                           Csl Rifles tlf CoalL lads 4 244
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APP-eeg Ble . )meme I, 2gf Tl                                        (Appellate)
     Case 2:22-cv-01656-DAD-JDP Document 42-8 Filed 05/20/24 Page 3 of 3
                 PROOF OF SERVICE BY EMAIL, MAIL AND/OR HAND DELIVERY
 I                     STATE OF CALIFORNIA, COUNTY OF ALAMEDA
 2     I am a resident of the United States and employed in the aforesaid county; I am over the age of
       eighteen years and not a party to the within entitled action; my business address is 7901
 3     Stoneridge Drive, Suite 230, Pleasanton, California:
 4            Case Name:              CA DFEH v. Cisco Svstems. Inc, et al.
              Case Number:            20CV372366
 5            Our File No.:           HA-001

 6            On May I, 2024, I served the within:
 7        ~   ABANDONMENT OF APPEAL
 8     on the interested parties to said action at the address(es) stated below.

        Jamie Crook, Esq.                                   Lynne C. Hermle, Esq.
        Rumie Vuong, Esq.                                   Joseph C. Liburt, Esq.
10      Roya Massoumi, Esq.                                 Nicholas J. Horton
        Dylan Colbert, Esq.                                 Orrick, Herrington & Sutcliffe LLP
        Mackenzie Anderson, Esq.                            1000 Marsh Road
        California Civil Rights Department                  Menlo Park, CA 94025-1015
12      2218 Kausen Drive, ¹100                             Telt (650) 614-7400
        Elk Grove, CA 95758                                 Faxt (650) 614-7401
13      Tele (916) 478-7251                                 (Counselfor Defendant Cisco Systems,
        Fax: (888) 582-5293                                 Inc.)
14      (Counselfor Plaintiff DFEHJ
15     IXXI BY EMAIL: By electronically transmitting the document(s) listed above to the email
       address(es) of the person(s) set forth on the attached service list from the email address
16     m.mallam narayantravelstead.corn. To my knowledge, the transmission was reported as
       complete and without error. Service by email was made [XX] pursuant to Emergency Rule 12 &
17     CCP section 1010.6; [ ] pursuant to agreement of the parties, confirmed in writing, [ ] as an
       additional method of service or as a courtesy to the parties, or [ ] pursuant to Court Order:
18
              Jamie Crook, Esq. — Email: Jamie. Crook(kcalcivilrights.ca gov
19            Rumie Vuong, Esq. — Email: rumduol.vuong calcivilrights.ca,gov
              Roya Massoumi, Esq. — Email: Roya.Massoumi{RCalCivi/Rights.ca.gov
20            Dylan Colbert, Esq. — Email: Dylan.colbert calcivilrights.ca.gov
              Mackenzie Anderson, Esq. - Mackenzie.Anderson@calcivilrights.ca.gov
21            Step Newton, Legal Analyst — Email: step. newton calcivilrights.ca.gov
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22            Lynne C. Hermle, Esq. — Email: /chermlegorrickcom
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23            Nicholas J. Horton, Esq. — Email: nhorton@orrick corn
              Karen Vasquez — Email: kvasquez orrick. corn
24            Helena Bwsik — Email: hbursik orrickcom
              Tina McBride — Email: tmcbride orrick.corn
25
               [X] STATE: I declare under penalty of perjury under the laws of the State of California
26     that the above is true and correct. Executed on May 1, 2024, at Pleasanton, California.
27

28                                                    By
                                                           Moreen N. Malism

                                       ABANDONMENT OF APPEAL
                                              (HA-001)
